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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,


                                                                      ORDER
              v.                                                    01-CR-129A

GREGORY PATTISON,

                                   Defendant.




              The defendant, Gregory Pattison, is scheduled to be sentenced on June

29, 2006. The defendant timely filed a statement with respect to sentencing factors and

objections to the presentence investigation report (“PSR”) on June 2, 2006.

              The government did not timely file its statement with respect to sentencing

factors, or its response to the defendant’s objections. The government’s statement with

respect to sentencing factors was required to be filed on June 2, 2006. Its response to

the defendant’s objections was required to be filed on June 14, 2006. The government

is hereby ordered to file an affidavit explaining the untimeliness of its submissions on or

before June 30, 2006. The government is also ordered to respond to the defendant’s

objection to paragraph 75 of the PSR, which was not addressed in the government’s

untimely response. Sentencing is hereby adjourned to September 26, 2006.
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           IT IS SO ORDERED.
                                  /s/   Richard J. Arcara
                                  HONORABLE RICHARD J. ARCARA
                                  CHIEF JUDGE
                                  UNITED STATES DISTRICT COURT

DATED: June 28, 2006
